921 F.2d 272Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John William SIMMS, Petitioner-Appellant,v.James N. Rollins, J. Joseph Curran, Jr., the AttorneyGeneral for the State of Maryland, Respondents-Appellees.
    No. 90-6644.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 3, 1990.
    Decided Dec. 26, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., District Judge.  (CA-90-572-B)
      John William Simms, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Audrey A. Creighton, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      John William Simms seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal because his claim is meritless, as noted by the district court.  Simms v. Rollins, CA-90-572-B (D.Md. Aug. 4, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    